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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

--------------------------------X
JUSTIN ANTHONY LOWE ALSO KNOWN :
AS JUSTIN LOWE BY HIM;          : CASE NO.:
                                :
Plaintiff,                      : PLAINTIFF DEMANDS TRIAL
                                :
                                : BY JURY
             -vs.-              :
                                :
FIRSTBANK PUERTO RICO;          :
DOÑA FELA, LLC;                 :
X Y AND Z INSURANCE COMPANIES; :
ROBERT DOE, MARY DOE, JOHN DOE, :
MARK DOE, JOE DOE AND CLARK DOE :
                                :
Defendants,                     :
--------------------------------X


                            COMPLAINT


TO THE HONORABLE COURT:
     COME NOW, plaintiff through his undersigned attorney and very

respectfully state, allege and pray:


                    I. FEDERAL JURISDICTION AND VENUE


     1.   This Court has jurisdiction over the subject matter of

this action pursuant to 28 U.S.C. § 1332 over state law claims

under Articles 1540, 1539, and 1536 of the Civil Code of Puerto

Rico of 2020; in that there is complete diversity of citizenship

among the parties and the amount in controversy, exclusive of

interest and costs, which exceeds $75,000 Dollars.


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     1.   Venue is proper in this judicial district pursuant to 28

U.S.C. § 1391(a) (1) and (2) in that the events giving rise to the

claim arose in this District.


                              II. PARTIES


     2.   Plaintiff, Justin Anthony Lowe also known as Justin Lowe

by him is a citizen of the State of Florida, residing and with

intention to live at Palm Harbor, Florida. At the time this

complaint is filed plaintiff has the intention to have his domicile

and citizenship within the State of Florida.

     3.   Defendant, Firstbank Puerto Rico, is a legal entity

organized under the laws and with its principal place of business

in the Commonwealth of Puerto Rico.

     4.   Defendant, Doña FELA, LLC is a legal entity organized

under the laws of Puerto Rico, and with its principal place of

business in the Commonwealth of Puerto Rico.

     6.   Defendants,    X,   Y   Z       INSURANCE   COMPANIES   are   the

fictitious name of the insurance’s company whose place of business

is in a state or foreign country other than the State of Florida.

They had at all relevant time an insurance’s policy to cover the

damages alleged in the Complaint. It is designated with these names

because their   true identity is not known at the present time.




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     7.    Defendants, Robert Doe and Mary Doe; are citizens of the

United States but residents of a state other than the State of

Florida. They are designated with these names because their true

identities are not known at the present time because they are

spouses and conjugal partnerships constituted with any of the

defendants.

     8.    Defendants, John and Mark Doe are citizens of the United

States but residents of a state other than the State of Florida.

They are designated with these names because their true identities

are not known at the present time.

     9.    Defendants,      Joe   DOE   and   Clark    Doe   are   corporations

organized under the laws and with their principal place of business

in a state other than the State of Florida. They are designated

with these names because their true identities are not known at

the present time.



                                  III. FACTS


     10.   Defendants, Firstbank and/or Doña Fela, LLC (hereinafter

referred   to     as     “Defendant(s)”)      owned,     managed,    operated,

maintained,     and/or    controlled    an    area    between   Galeria   Paseo

Portuario and Doña Fela Parking in Old San Juan.

     11.   On December 20, 2020, Plaintiff was walking through the

area between the two buildings, Galeria Paseo Portuario and Doña


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Fela Parking, when he slipped and fell in an area that was very

slippery. The area of the accident was paved with water accumulated

on top; and it had very small plants and/or slime on top of the

paved floor. The pave floor was green looking in the area of the

slipped and fell. The water had a green color. The slime and/or

the very small plants covered with water have been there since a

long period of time. The paved floor was very slippery during weeks

and/or months.

     12.   Defendants    financially      benefited   from   the   operation

and/or ownership of Galeria Paseo Portuario and Doña Fela Parking.

     13.   At all time, Plaintiff was lawfully at the real estate

property owned by Defendant(s).

     14.   No warning sign was placed in the area of the accident,

stating that the paved floor was slippery.

     15.   Defendant had knowledge or should have known that the

paved floor was wet and very slippery; because the slime and/or

the very small plants covered with water have been there since a

very long period of time.

     16.   Plaintiff then injured his back due to the slip and fall

at the area between Galeria Paseo Portuario and Doña Fela Parking.

He suffered serious, painful, and permanent injuries.

     17.   Plaintiff    after   his   accident   went   to   hospitals   and

doctors in order to receive medical attention.



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     18.   Upon information and belief, defendants by conduct of

their employees failed to clean, and maintain, the subject wet

floor with slime, or otherwise ensure that it was in a reasonably

safe condition for use by its guests or invitee. Employees or

agents of the defendants have walked through or near the area of

the accident when it was wet and with smile. The wet floor was

unreasonably dangerous or unsafe. Defendants knew or should have

known of the dangerous or unsafe condition.

     19.   At all times, material hereto Defendants owed a duty to

maintain its premises, including the floor, in a reasonably safe

condition, to correct any dangerous conditions that knew or should

have reasonable known of through the use of reasonable care, and

to warn of any dangerous conditions that Defendants knew or should

have known of and which were not apparent to Plaintiff.

     Defendants breached the aforementioned duties by:

           a.   Negligently failing to maintain the floor in
                order to eliminate the dangerous or hazardous
                condition.

           b.   Negligently inspecting the slippery wet floor
                and failed to identify the potential hazards
                or problems, because it was foreseeable that
                the slippery wet floor with slime could cause
                to Plaintiff an injury.

           c.   Negligently failing to develop inspection and
                maintenance protocol in order to identify the
                slippery wet floor with slime, thereby
                allowing same to become unsafe.

           d.   Negligently  failing to   warn  plaintiff
                regarding the wet slippery floor and the

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                   slime, when Defendants knew or should have
                   known it was dangerous to do so.

              e.   Failing to exercise due care with respect to
                   matters alleged in this Complaint.


       20.    Furthermore, plaintiff made an extrajudicial claim to

Firstbank Puerto Rico and performed diligences on December 17,

2021 in order to request the identities, names, and the address of

any other owner(s(, operator(s), maintenance legal entities or

person(s) that could be liable to the plaintiff. Furthermore on

that   same    date,   plaintiff   requested    the   names   of   insurance

companies that could be liable to the plaintiff, due to the

negligence of the owners, operators, and the legal entities or

persons in charge of the maintenance.



                                   V. DAMAGES



       21.    As a direct and proximate result, of the negligence of

Defendants, Plaintiff, Justin Lowe, suffered bodily injury and

resulting pain and suffering, disability, impairment, loss of

capacity for the enjoyment of life, expense of hospitalization,

medical and/or nursing care and treatment, loss of earnings, loss

of ability to earn money and aggravation of a previously existing

condition. Plaintiff has received more than 10 therapies in his

back; and will have a surgery very soon in his back. The losses


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are either permanent in nature or continuing and the Plaintiff

will suffer the losses in the future. The injury consists in whole

or in part of significant and permanent loss of an important bodily

function in his back, and a permanent injury within a reasonable

degree    of    medical   probability,     and/or   significant    permanent

scarring or disfigurement. Plaintiff is claiming his permanent

impairment and/or impediment that his has develop in his back.

Plaintiff is claiming his loss of income and/or future loss of

income because he has not been capable of working since the

accident. During the last year he has lost more than twenty-three

thousand dollars in income, and his claiming future loss of income

also. Furthermore, plaintiff has suffered continuous emotional

damages, pain and suffering damages during the whole year after

the accident. He has suffered pain in his back every day since the

accident, and will continue. Plaintiff claims for all those damages

the amount of five million dollars($5,000,00.00).



                  VI. CAUSES OF ACTION


     22.       The First Circuit of Boston in the case of Vázquez-

Filippetti, vs Banco Popular, 504 F3d 43, 50(2007); states:


          “Torres, 233 F.Supp.2d at 278(internal citations
     omitted). Cases premised on the existence of a dangerous
     condition often arise from a slip and fall, caused by a
     wet or slippery floor, and involve a claim that the
     business owner was negligent in permitting the condition

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     to remain because it is foreseeable that a wet floor is
     likely to cause injury….”


     23.     The     slippery   wet   floor   establishes    that    it   was

foreseeable the accident of Justin Lowe. Those facts stated before

establish the breach of duty, the proximate or adequate cause of

Justin Lowe’s accident. Those facts established liability under

articles 1540, 1539, and 1536 of the Civil Code of Puerto Rico of

2020. In the case of Padro vs. Costco Wholesale Corp., 2007 WL

630095, at page 1-2(2007); it states that Costco was negligent due

to omission, including within the period of 4 minutes, in order to

prevent the fall of Padro when an employee was within 25 feet from

the area of the accident. Four minutes before someone vomit the

floor.

     24.     In Arthur Jiménez v. Desarrolladora del Norte S en C,

S.E., 2010 WL 3087497, at pages 3-4, in a slip copy of the U.S.

District Court for the District of Puerto Rico; states:

             “….Thus, in order to prevail in a general tort
             claim under Puerto Rico law, a party must
             establish   the   following   elements:   “(1)
             evidence of physical or emotional injury, (2)
             a negligent or intentional act or omission
             (the breach of duty element), and (3) a
             sufficient causal nexus between the injury and
             defendant’s act or omission (in other words,
             proximate   cause).”   Vazquez-Filippetti   v.
             Banco Popular de Puerto Rico, 504 F.3d 43, 49
             (1st. Cir. 2007) (citing Torres v. Kmart Corp.
             233 F.Supp.2d 273, 277-78(D.P.R.2002)).

             ………..


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           ‘As   is    true    in   most   jurisdictions,
           foreseeability is a central issue in these
           cases, as it is an element of both breach of
           duty and proximate cause’. Vazquez-Filippetti
           v. Banco Popular de Puerto Rico, 504 F.3d 43,
           49    (1st     Cir.2007)(internal    citations
           omitted). See also Marshall v. Perez-Arzuaga,
           828 F.2d 845, 847 (1st Cir. 1987). ………………………..
           *4 “[Proximate cause is also defined in terms
           of foreseeability.” Malavé-Félix v. Volvo Car
           Corp., 946 F.2d 967, 971 (1st Cir. 1991).
           “Once a plaintiff has demonstrated that the
           defendant was negligent (meaning that the
           defendant breached its duty of care), [he/she]
           must then demonstrate that the defendant’s
           negligence was the proximate cause of her
           injuries.” Vazquez-Filippetti, 504 F.3d at
           49n. 6. “A defendant’s actions may only be the
           proximate cause of a plaintiff’s injuries if
           they in fact caused the injuries and the
           defendant could have reasonably foreseen that
           the injuries (or related harms) would result
           from his actions.” Id. (internal citations
           omitted).
           “In particular, claims based on allegedly
           dangerous conditions on commercial property
           (“premises   liability   claims”)   require  a
           showing that the defendant knew of or should
           have foreseen the risks created by the
           condition.” Id. at 50.
           ………………………………………..
           ………………………………………..
           ………………………………………..
           (in slip and fall cases under Puerto Rico law,
           liability attaches to the owner of a business
           when the dangerous condition was known or
           should have been known to the owner).”


     25.   Edward F. Kaden v. Wyndham El Conquistador Resort &

Country Club, 2005 WL 1949694, at page 6, not reported in F.Sup.2d,

U.S. District Court, District of Puerto Rico; states:

           ‘“In Puerto Rico, an owner of a commercial
           establishment is potentially liable for all

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           injuries occurring in areas where it has
           retained control.” Bou Maldonado, 2001 WL
           1636768, at *3 (citing Cotto v. C.M. Insurance
           Co., 116 D.P.R. 644 (1985); Aponte Betancourt
           v. Melendez, 87 D.P.R. 619 (1963); Goose v.
           Hilton Hotels, 79 D.P.R. 494 (1956)). …….

           This duty of care requires that commercial
           establishments     “take    the     necessary
           precautions or … adopt the necessary security
           measures to preserve the safety of their
           costumer.” Bou Maldonado, 2001 WL 1636768, at
           *3.  Nevertheless, commercial establishments
           are not “liable for events that cannot be
           foreseen, or for those that, having been
           foreseen, are inevitable.” Id. In sum,
           plaintiffs must prove that the injury was
           reasonably foreseeable and that it could have
           been avoided had defendant acted with care.
           See Woods-Leber, 124 F.3d at 51.”


     26.   In Isabelita Mas, v. United States of America, 984 F.2d

527, 529-530 (1st Cir. 1993); states:

           “……the Court incorporated language of actual
           and constructive knowledge in its opinion in
           Cotto v. Consolidated Mutual Insurance Co.,
           116 D.P.R. 644 (1985). ………………………..
           ………………………..
           As we find Cotto to reflect the current state
           of the law in Puerto Rico, we agree with the
           district court on the result of this case.
           Section 5141 requires, as an element, an
           affirmative showing by the plaintiff that the
           defendant was negligent.    This showing, in
           turn, requires a demonstration that the
           defendant has either actual or constructive
           knowledge or a dangerous condition…..”


     27.   In the case of Carr vs. Puerto Rico Ports Authority,

2011 WL 1484158 (2011 D Puerto Rico)in a slip copy, at page 4;

states that in “Ramos v. Wal-Mart, 165 PR. Dec. 510(2005)(safety

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sweep in which employees patrol store aisles every fifteen minutes

to detect and address spills and other dangerous conditions found

to be reasonable measure to preclude tort liability for fall that

happened within the fifteen minute range).” Defendants breach this

legal duty.

       28.     The   case     of    Vazquez-Filippetti           vs.    Banco     Popular,

supra,(1st      Cir.)      page    50;   states     that    cases      premised    on   the

existence of a dangerous condition often arise from a slipped and

fall caused by a wet or slippery floor and involve a claim that

the business owner was negligent in permitting the condition likely

to cause injury. Similar claims include stairways railings in

despair, burned out exterior or security lights in a dangerous

area, and unsturdy or unstable floors. The typical tort claim

involves the generic reasonably prudent person standard of care,

and    requires      the    plaintiff     to    present     no   evidence       about   the

defendant’s duty. This legal duty was breach by defendants.

       29.     The case of García vs. United States, 734 F.3d 100,

103(1st Cir 2013); the Honorable First Circuit Court in a slip and

fall    case    stated      that    for   pleading         purposes,     circumstantial

evidence often suffices to clarify a protean issue.”                        The Federal

First Circuit Court of Boston continues stating at page 103 that:

       “….the complaint averred that there was a dangerous
       condition at the Fort Buchanan commissary; described
       that condition and attributed it to the government’s
       negligence; and linked the condition to the appellant’s
       ensuing injuries. Read holistically, we think that these

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        allegations are sufficient to withstand the government’s
        Rule 12(b)(6) motion to dismiss. Common sense suggests
        that the existence of a dangerous condition, not hidden
        from view, in a public area controlled by the defendant,
        supports a plausible inference that the defendant had
        actual or constructive knowledge of the condition.”


        30.    In the case of Carr vs. Puerto Rico Ports Authority,

2011 WL 1484158 (2011 D Puerto Rico)in a slip copy, at page 4;

states that in “Ramos v. Wal-Mart, 165 PR. Dec. 510(2005)(safety

sweep in which employees patrol store aisles every fifteen minutes

to detect      and   address   spills   and   other   dangerous   conditions

found     to    be reasonable measure to preclude tort liability for

fall that happened within the fifteen minute range).” The First

Circuit of Boston in the case of Vázquez-Filippetti, vs Banco

Popular, 504 F3d 43, 50(2007); states:

             “Torres, 233 F.Supp.2d at 278(internal citations
        omitted). Cases premised on the existence of a
        dangerous condition often arise from a slip and fall,
        caused by a wet or slippery floor, and involve a claim
        that the business owner was negligent in permitting
        the condition to remain because it is foreseeable that
        a wet floor is likely to cause injury. Similar claims
        include stairway railings in disrepair, burned-out
        exterior or security lights in a dangerous area, and
        unsturdy or unstable floors. In any of these
        circumstances, the property itself, if it were in
        pristine condition, would be safe, but some act or
        omission by the owner has created dangers or risks to
        the property’s visitors.
             ……………….Whereas a typical tort claim involves the
        generic ‘reasonably prudent person’ standard of care
        (or duty) and REQUIRES THE PLAINTIFF TO PRESENT NO
        EVIDENCE ABOUT THE DEFENDANT’S DUTY, a plaintiff in a
        design case must present evidence as to specific ’S
        DUTY or standard of care applicable to the design of a
        product or property at issue.”

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      31.    In   Vázquez-Filippetti,      vs   Banco   Popular,   supra,   at

footnote 7; expresses:

           “In Ramírez Pomales v. Becton Dickinson & Co., the
      district court noted that ‘proof of duty’ is not required
      to state a claim for negligence, 649 F.Supp. 913, 917
      n.7 (D.P.R. 1986). Aff’n 839 F.2d 1(1 st Cir. 1988),
      because law assumes that every man owes to his fellow
      creatures that degree of care and vigilance as will
      enable him to enjoy his life with safety…... the
      obligation to pay damages for wrongful act flows ……..
      for the lack of prudence or diligence which is normally
      due in the ambit of human coexistence, id. (quoting Perez
      Escolar v. Collado, 90 P.R.R. 785, 788-90(1969).”


      32.    In the case of Marquez v. Casa de España de Puerto Rico,

59   F.Supp.3d    409,   414   at   footnote    1(D.    Puerto   Rico   2014);

expresses:

           “it is the failure to correct, in the exercise of
      due care, a known hazardous condition or one of which
      the [property owner], in the exercise of due care,
      should be aware, or the failure to effectively warn
      invitees of its presence, that constitutes fault or
      negligence.”
Defendants breached this duty in this case.

      33.    Pursuant to the Puerto Rico Insurance Code a casualty or

liability insurance carrier, is independently liable in a direct

action to the plaintiff, for any negligence or fault or condition

insured against, up to the merits of liability of the insurance

contract.

      34.    Plaintiff demands jury trial.




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     WHEREFORE, plaintiff respectfully requests that judgment be

granted in the favor of him, and against the Defendants jointly

and severally as follows:

       (a) Five Million ($5,000,000.00) Dollars;

       (b) Awarding costs, disbursements and attorney’s fees to

            Plaintiff; and

       (c) Such other relief as this Court may deem just and

            proper.

  In San Juan, Puerto Rico, this 18th day of December, 2021.


                                  s/Glenn Carl James
                                  Glenn Carl James
                                  USDC- 207,706
                                  JAMES LAW OFFICES
                                  PMB 501
                                  1353 Ave. Luis Vigoreaux
                                  GUAYNABO, PR 00966-2700
                                  Tel. (787)616-2885
                                  E-mail:
                                  glenncarljameslawoffices@gmail.com




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